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Fill in this information to identify the case;

Debtor name         The Neely Group, Inc.

United States Bankruptcy Court for the:    NORTHERN DISTRICT OF ILLINOIS

Case number (if known)     24-03859
                                ----------
                                                                                                                               □   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).



1. Gross revenue from business

     D None.
      Identify the beginning and ending dates of the debtor's fiscal year,            Sources of revenue                           Gross revenue
      which may be a calendar year                                                    Check all that apply                         (before deductions and
                                                                                                                                   exclusions)

      From the beginning of the fiscal year to filing date:                           ■ Operating a business                                  $264,883.15
      From 1/01/2024 to Filing Date
                                                                                      0 Other

      For prior year:                                                                 ■ Operating a business                                 $2,249,278.70
      From 1/01/2023 to 12/31/2023
                                                                                      D Other


      For year before that:                                                           ■ Operating a business                                 $1,300,737.00
      From 1/01/2022 to 12!31/2022
                                                                                      □ Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     ■ None.

                                                                                      Description of sources of revenue            Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

■itifM List Certain Transfers Macle Befo~e F'Hing f!)r _l:l~11~tp_~ __

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers-including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     ■ None_

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4_ Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers. including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
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Debtor       The Neelv Group,h1c. _ _ _ _ _ _ __                                                 Case number /if known) 24-03859
                                                                                                                             -----------


    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

     0 None.
      Insider's name and address                                    Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    Old National Bank                                                                                           Financing payments
                                                                    Various                          $63,954.59
              c/o Adam Rome, Esq., Greiman, Rome                                                                          guaranteed by insider.
              etal
              205 W. Madison Street
              Chicago
              Chicago, IL 60606
              Financer

      4.2.
        IOU Financial                                               Various                          $61,585.12           Financing payments made by
        600 Town Park Lane                                                                                                insider.
        Kennesaw, GA 30144
     ___F_i_m1~nc~er

      4.3    The UPS Store, Inc.                                    Various                          $96,701.69           Franchise Agreement related
             clo Faegre Drinker/Michael Gustafso                                                                          payments guaranteed by
             320 S. Canal Street; Suite 3300                                                                              insider.
             Chicago, IL 60606
             Franchisor

      4.4.    Morrell "Steve" Neely                      Various                                    $219,556.00           Salary payments made to
              1020 W. Oakdale Avenue                                                                                      insider.
              Chicago, IL 60657
              100% shareholder; Director; PresJ.den_t_ _ _ _ __

      4.5.    United Parcel Service, Inc.                                                            $96,701.69           Shipping; The Debtor believes
                                                                    Various
              c/o Illinois Corporation Service Co                                                                         that Mr. Neely may have
              801 Adlai Stevenson Drive                                                                                   guaranteed payments to this
              Springfield, IL 62703-4261                                                                                  creditor, but is still researching
              Vendor                                                                                                      that issue.

      4.6.    Acadia Realty Trust                                   Various                          $47,473.38           Rent guaranteed by Insider.
              c/o Neville Reid, Fox Swibel et al                                                                          Payments were made for two
              200 W. Madison Street                                                                                       store locations. Some checks
              Suite 3000                                                                                                  were made payable to
              Chicago, IL 60606                                                                                           California & Armitage, some to
              Landlord                                                                                                    Con & Milwaukee, and some to
                                                                                                                          "Acadia." Another entity,
                                                                                                                          Acadia Realty Limited
                                                                                                                          Partnership may be the/a
                                                                                                                          correct creditor ~ntt!Y- _ _ __

5 Repossessions, foreclosures, and returns
  list all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
  a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

     ■ None

      Creditor's name and address                       Describe of the Property                                        Date                Value of property


6. Setoffs
    List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
    of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
    debt.



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Debtor       _The Ne~ Group, Inc •. · · - - · · · - · · - - · - -



     ■ None

      Creditor's name and address                          Description of the action creditor took                         Date action was           Amount
                                                                                                                           taken

i®IM Le_gal Actions orj\sfilgnments                   _       ..

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental au~its_                 .                  .
   List the legal actions, proceedings. mvestlgations. arbitrations. mediations, and audits by federal or state agencies in which the debtor was mvolved
   in any capacity-within 1 year before filing this case.

     D None.
               Case title                         Nature of case                       Court or agency's name and                Status of case
               Case number                                                             address
      7.1.     California & Armitage Main         Eviction                             Circuit Court of Cook                      ■ Pending
               Owner LLC v. The Neely                                                  County Illinois                            D On appeal
               Group, Inc., Nice Package,                                              50 W. Washington Street                    D Concluded
               Inc., Morrell Steven Neely,                                             Chicago, IL 60602
               and Noil Corp.
               2023 1718033      .. ·--·· · - · ···--
      7.2.     Concord & Milwaukee Owner                    Eviction                   Circuit Court of Cook                      ■ Pending
               LLC v. The Neely Group, Inc.,                                           County, Illinois                           D On appeal
               Ownership, Inc., Morrell                                                50 W. Washington Street
                                                                                                                                  D Concluded
               Steven Neely, Noil Corp., and                                           Chicago, IL 60602
               Robert F. Giovannetti
               20231718031
     - - - - " - - - · -·------------ - - - - · - - · · - - - - -..


      7.3.     Morrell "Steve" Neely and The                   Injunction              Circuit Court of Cook                      D Pending
               Neely Group, Inc. v. IOU                                                County Illinois                            0 On appeal
               Central, Triton Recovery LLC,                                           50 W. Washington Street                    ■ Concluded
               and Albert Diaz                                                         Chicago, IL 60602
               2024 CH 00251
      · - - - , - - - - - · - - ' - · - - - · · · - - -.. - - - - - - - - - - - -

      7.4.     The Neely Group, Inc. v. HNO  Breach of                                 United States District Court               ■ Pending
               International Inc., Black     Contract and                              N.D.111.                                   D On appeal
               Carbon Coalition, Inc., and   other claims                              219 S. Dearborn Street
                                                                                                                                  D Concluded
               Donal Owens and HNO                                                     IL 60600-4000
               International Inc. and Black
               Carbon Coalition, Inc. v. The
               Neely Group Inc. and Morrell
               Neely
               22 CV 7347
                -··--     ----· ------···

8. Assignments and receivership
    List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
    receiver. custodian, or other court-appointed officer within 1 year before filing this case.

     ■ None



i@IM Certain Gifts and Charitable Contributions. ____ ----·· ·------ · - - - _ __
9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

     ■ None

               Recipient's name and address                Description of the gifts or contributions                 Dates given                         Value




10. All losses from fire, theft, or other casualty within 1 year before filing this case.

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Debtor     _The Neely Gr~up, ln_c_._ _ _ _ _ _ _ _ _~                                             Case number (if known) 24-03~59 .




     II None
      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106AJB (Schedule
                                                       A/8: Assets - Real and Personal Property).

llfiJM Ce_rtain Payments or Transfers
11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

     II None.
               Who was paid or who received               If not money, describe any property transferred               Dates               Total amount or
               the transfer?                                                                                                                         value
               Address

12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

     ■ None.

      Name of trust or device                             Describe any property transferred                     Dates transfers             Total amount or
                                                                                                                were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

     ■ None.

             Who received transfer?                    Description of property transferred or                     Date transfer             Total amount or
             Address                                   payments received or debts paid in exchange                was made                           value

■ @fM PreviouisL,ocations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


     ■ Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

l!JTjl;M Health Care Bankruptcies
15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

     ■     No. Go to Part 9.
     D     Yes. Fill in the information below.




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                                                                                                   Case number /if known) ---=24--'----'-0::..:3::..:8::..:5::..:9=-------------



              Facility name and address                  Nature of the business operation, including type of services                       If debtor provides meals
                                                         the debtor provides                                                                and housing, number of
                                                                                                                                            patients in debtor's care

litUliM Personally ldentifiable.~ln-"f-=o_rm-CCac:cti-=oc...n_ _ _ _ _ _ __
~6. Does the debtor collect and retain personally identifiable information of customers?

     0     No.
     ■     Yes. State the nature of the information collected and retained.

                  The creditldebit card numbers of mailbox customers are retained for
                  eer!~dic ___b_il_li_n_,,,g'-._ _ _ _ _ _ __
                  Does the debtor have a privacy policy about that information?
                  ■ No
                  □ Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401 (k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

      ■    No. Go to Part 10.
     D     Yes. Does the debtor serve as plan administrator?


tit\fflt•■ Certain Financial A__Ecounts, Safe Depo;,iit Boxes, and Storage Un~t!l · · - - - - - - - - -

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

     D None
                 Financial Institution name and          Last 4 digits of            Type of account or             Date account was                        Last balance
                 Address                                 account number              instrument                     closed, sold,                       before closing or
                                                                                                                    moved, or                                    transfer
                                                                                                                    transferred
      18.1.      Citibank                                 XXXX-1288                  ■ Checking                     November, 2022                                     $8.00
                                                                                     D Savings
                                                                                     0 Money Market
                                                                                     0 Brokerage
                                                                                     D Other

      18.2.      Citibank                                 XXXX-1296                  ■ Checking                     November, 2022                                   $26.46
                                                                                     0 Savings
                                                                                     0 Money Market
                                                                                     D Brokerage
                                                                                     D Other

      18.3.      Citibank                                 XXXX-9841                  ■ Checking                     November, 2022                                   $79,72
                                                                                     0 Savings
                                                                                     D Money Market
                                                                                     0 Brokerage
                                                                                     D Other

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.




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Debtor      The Neely Group, Inc.                                                               Case number /if known) 24-03859




     ■ None

      Depository institution name and address               Names of anyone with                  Description of the contents                 Does debtor
                                                            access to it                                                                      still have it?
                                                            Address

20. Off-premises storage
   List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
   which the debtor does business.


     Ii None

      Facility name and address                              Names of anyone with                 Description of the contents                 Does debtor
                                                             access to it                                                                     still have it?


i@IIM Property the Debtor Holds or f_ontrols_n,_a_t the_ D_ebtor D~sJIIC>t 0~11 ___ _
21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    D None
      Owner's name and address                               Location of the property             Describe the property                                   Value
      Customers                                                                                   The Debtor had many boxes                         Unknown
                                                                                                  dropped off by customers in
                                                                                                  the normal course of its
                                                                                                  business for shipping. It is
                                                                                                  not known what was in the
                                                                                                  boxes because in the normal
                                                                                                  course of business they are
                                                                                                  not opened.


Utffllf.JI [)~t~i!sAboutEnvir~_n_m_e_n_t_ln_f_o_rm_a_ti_o_n______________________________________________ _
For the purpose of Part 12, the following definitions apply:
      Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

     ■     No.
     D     Yes. Provide details below.

      Case title                                             Court or agency name and             Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

     ■     No.
     D     Yes. Provide details below.




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                                                                                                                                     -24-03859
                                                                                                                                       -------------

      Site name and address                                         Governmental unit name and                    Environmental law, if known                Date of notice
                                                                    address

24. Has the debtor notified any governmental unit of any release of hazardous material?

      ■    No.
      D    Yes. Provide details below.

      Site name and address                                         Governmental unit name and                    Environmental law, if known                Date of notice
                                                                    address

U@IEM Details A~~ut !he Oeb!or's ~~sj_r:l!)_ss-=o-'--r_C-=o'-'-n""n_e-=c_c.ti'-'-o-'-'n"-s-'t"'-o--'-A-"n-"y'--"'B_c.uc.cs...:.in'-'e'--s-s______________________________ _
25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      ■ None

    Business name address                                   Describe the nature of the business                   Employer Identification number
                                                                                                                  Do not include Social Security number or ITIN.

                                                                                                                  Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
         D None
      Name and address                                                                                                                              Date of service
                                                                                                                                                    From-To
      26a.1.        Reliable Tax Service                                                                                                            Services began in
                    11 05 S 8th Street                                                                                                              December, 2023.
                    Suite B
                    Las V~gc1s, NV_8_9'-1'-0__4 ' - - - - - - - - - - - - - - - - - - - - - - - - - - - - - ____ ____ ____ _

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
         within 2 years before filing this case.

          II None

    26c List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed

          D None
       Name and address                                                                                         If any books of account and records are
                                                                                                                unavailable, explain why
       26c.1.Morre! "Steve" Neely
             1020 W. Oakdale Avenue
           __C_hicago, IL 606_5_7_ __
       26c.2.       Reliable Tax Service
                    1105 S 8th Street
                    Suite B
                    Las Vegas, NV 89104

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          D None
       Name and address




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Debtor    . The Neely Gro!:!f)~n_c_._ _ _ _ _ _ _ _~                                              Case number (if known/ 24-03859



      Name and address
      26d.1.        Old National Bank
                    c/o Adam Rome, Esq., Greiman Rome et al
                    205 W. Randolph Street
                    ChicaQO, IL 60606

      26d.2.        IOU Central, Inc.
                    600 TownPark Lane
                    Suite 100
                    Kennesaw. GA 30144

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

     ■       No
     D       Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                    Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                       or other basis) of each inventory

28 List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                     Address                                              Position and nature of any            % of interest, if
                                                                                                    interest                              any
      Morrell "Steve" Neely                    1020 w. Oakdale                                      Common Stock                          100
                                               Chicago, IL 60657



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


     ■       No
     D       Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans. stock redemptions, and options exercised?

     D       No
     ■       Yes Identify below.

               Name and address of recipient             Amount of money or description and value of               Dates              Reason for
                                                         property                                                                     providing the value
      30.1     Morrell "Steve" Neely
               1020 W. Oakdale Avenue
               ChiC,!QO, IL 60657 _ _ __                 $219,556.00                                               Various            Salary

               Relationship to debtor
               Sole shareholder, Director,
               President



31 Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

     ■       No
     D       Yes. Identify below.

   Name of the parent corporation                                                                        Employer Identification number of the parent
                                                                                                         corporation


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 Debtor     The Neely Gro'::lfl, Inc.                                                             Case number /if known) 24-03859



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      ■     No
      0    Yes. Identify below.

    Name of the pension fund                                                                            Employer Identification number of the pension
                                                                                                        fund

•tGHM Signature and Declara!i_o_n_________
      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property. or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on5 ~ ;i.. !.(, 2'1
          ~<~~ ~_;::                                              Morrell Neely __
 Signature of indi@ggjl:l~~lf of the debtor                       Printed name

 Position or relationship to debtor    President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
■ No
D Yes




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